918 F.2d 955Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Sylvester CRAIGHEAD, Petitioner,v.DIRECTOR, OFFICE OF WORKERS' COMPENSATION PROGRAMS, UNITEDSTATES DEPARTMENT OF LABOR, Respondent.
    No. 90-2909.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 29, 1990.Decided Nov. 20, 1990.
    
      Sylvester Craighead, appellant pro se.
      Steven D. Breeskin, Jeffrey Steven Goldberg, Donald Steven Shire, Barbara J. Johnson, United States Department of Labor, Washington, D.C., for respondent.
      Ben.Rev.Bd.
      DISMISSED.
      Before WIDENER, PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Sylvester Craighead seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C. Secs. 901 et seq.    Our review of the record discloses that Craighead noted this appeal outside the 60-day appeal period established by 33 U.S.C. Sec. 921(c).  See also 20 C.F.R. Secs. 802.406 and 802.410(a).  Appellant's failure to note a timely appeal deprives this Court of jurisdiction to consider this case.   See Adkins v. Director, OWCP, 889 F.2d 1360 (4th Cir.1989).  We therefore dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    